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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


  CATHY A. HARRIS,

                                Plaintiff,

  v.                                                   Civil Action No. 1:25-cv-00412-RC

  SCOTT BESSENT, et al.,

                                Defendants.




                           DEFENDANTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s Memorandum Opinion and Order

granting Plaintiff’s Motion for a Temporary Restraining Order. See ECF Nos. 8, 9.


Dated: February 20, 2025                             Respectfully submitted,

                                                     BRETT A. SHUMATE
                                                     Principal Deputy Assistant Attorney General

                                                     CHRISTOPHER R. HALL
                                                     Assistant Branch Director

                                                     /s/ Madeline M. McMahon
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